Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 1 of 9 PagelD #:26

IN THE UNITED STATES DISTRICT COURT .
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TURI JOSEPH
AKA JOSEPH TURI

PLAINTIFF

V. 14 CV 10359
J. MEHMEDAGIC (# 5089);
T.E. BUBACZ (13632); JUDGE VIRGINIA KENDALL
M.F. FITZPATRICK ( 13597);
G. EVANS ( 443); TJ LEMMER ( 81); MAGISTRATE JUDGE JEFFERY T. GILBERT
M. M. FETZER (9504);
M. A. Johnson ( 8781); &
City of Chicago

FIRST AMENDED COMPLAINT

Now comes the plaintiff, Joseph Turi, incorrectly heretofore denominated Turi Joseph, by his
attorney J Chris Goodman, complaining of the defendants J. Mehmedagic, # 5089; T.E. Bubacz, # 13632;
M.M. Fitzpatrick, # 13597; G. Evans, # 443; T. J. Lemmer, # 81; M.M. Fetzer, # 9504; M.A. Johnson, 8781;
and the City of Chicago, and in support hereof states as follows:

JURISDICTION

1. This action is brought pursuant to 42 USC 1983 of the United States Code and this Court has
jurisdiction based upon 28 USC 1331. This Court has jurisdiction with respect to the count against the
City of Chicago based upon pendent jurisdiction.

VENUE

2. Venue is proper in this district pursuant to 28 USC 1391. All the events alleged to have
occurred in this first amended complaint occurred in the County of Cook, Illinois, and all defendants
reside in this district.

NATURE OF CASE

3. This is an action against individual police officers under 42 USC 1983 for the deprivation of
constitutionally protected rights and applicable to the States pursuant to the Fourteenth Amendment to
the US Constitution. The gravamen of the complaint is unlawful seizure without probable cause and
excessive force by the defendants upon the plaintiff. Also the action against the City of Chicago
sounding in battery by employees of the City of Chicago employed as sworn police officers based upon
pendent jurisdiction.

COUNT I

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 2 of 9 PagelD #:27

For a cause of action against defendant, J. Mehmedagic # 13632, sounding in seizure without
probable cause and excessive force , plaintiff, Joseph Turi alleges and says as follows:

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

5. On the aforesaid date and place, the defendant J. Mehmedagic was employed as a sworn
Chicago Police Officer and was clothed with authority by the City of Chicago to employ physical force in
the apprehension of persons whom the officer reasonably believed had committed an offense.

6. On the aforesaid date and place the defendant, J Mehmedagic was on duty and acting within
the scope of his authority .

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9. J. Mehmedagic , acting in concert with Officer T.E. Bubacz, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.A, Johnson
(8781) , and Officer Johnson and other officers began tazing plaintiff with Tasers and pushing their knees
onto plaintiff's back, neck, and head and striking plaintiff with fists.

11. plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer Mehmedagic , individually and in concert with others,
plaintiff suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his
civil rights including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against J. Mehmedagic in a sum of $200,000.00 plus costs and attorney’s fees.

COUNT Hl

For a cause of action against T.E. Bubacz, ( 13632) sounding in seizure without probable cause
and the employment of excessive force, plaintiff, Joseph Turi alleges and says as follows:

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 3 of 9 PagelD #:28

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

5. On the aforesaid date and place, the defendant T.£. Bubacz was employed as a sworn
Chicago Police Officer and was clothed with authority by the City of Chicago to employ physical force in
the apprehension of persons whom the officer reasonably believed had committed an offense.

6. On the aforesaid date and place the defendant, T.E. Bubacz was on duty and acting within the
scope of his authority .

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9. T.E. Bubacz , acting in concert with Officer J. Mehmedagic, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.A, Johnson
(8781) , and Officer Johnson and other officers began tazing plaintiff with Tasers and pushing their knees
onto plaintiff's back, neck, and head and striking plaintiff with fists.

11. Plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer Bubacz , individually and in concert with others, plaintiff
suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his civil rights
including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against T.E. Bubacz in a sum of $200,000.00 plus costs and attorney’s fees.

COUNT IIl

For a cause of action against M.F. Fitzpatrick (13597), sounding in seizure without probable
cause and excessive force, the plaintiff Joseph Turi, alleges and says as follows:

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 4 of 9 PagelD #:29

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

5. On the aforesaid date and place, the defendant M.F. Fitzpatrick was employed as a sworn
Chicago Police Officer and was clothed with authority by the City of Chicago to employ physical force in
the apprehension of persons whom the officer reasonably believed had committed an offense.

6. On the aforesaid date and place the defendant, M.F. Fitzpatrick was on duty and acting
within the scope of his authority .

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9 T. E. Bubacz , acting in concert with Officer J. Mehmedagic, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.F.
Fitzpatrick , and M.A, Johnson (8781) , and Officer Johnson and other officers began tazing plaintiff
with Tasers and pushing their knees onto plaintiff's back, neck, and head and striking plaintiff with fists.
One of the 5 officers was M.F. Fitzpatrick.

11. Plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer M.F. Fitzpatrick , individually and in concert with others,
plaintiff suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his
civil rights including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against M.F. Fitzpatrick in a sum of $200,000.00 plus costs and attorney’s fees.

COUNT IV

For a cause of action against G. Evans, (443) sounding in seizure without probable cause and
excessive force, plaintiff Joseph Turi alleges and says as follows:

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 5 of 9 PagelD #:30

5. On the aforesaid date and place, the defendant G. Evans was employed as a sworn Chicago
Police Officer and was clothed with authority by the City of Chicago to employ physical force in the
apprehension of persons whom the officer reasonably believed had committed an offense.

6. On the aforesaid date and place the defendant, G Evans was on duty and acting within the
scope of his authority .

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9 T. E. Bubacz , acting in concert with Officer J. Mehmedagic, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.F.
Fitzpatrick , and M.A, Johnson (8781) , and Officer Johnson and other officers began tazing plaintiff
with Tasers and pushing their knees onto plaintiff's back, neck, and head and striking plaintiff with fists.
One of the 5 officers was G. Evans.

11. Plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer G. Evans , individually and in concert with others, plaintiff
suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his civil rights
including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against G. Evans in a sum of $200,000.00 plus costs and attorney’s fees.

COUNT V

For a cause of action against T.J. Lemmer(#81) sounding in seizure without probable cause and
excessive force, plaintiff, Joseph Turi alleges and says as follows:

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

5. On the aforesaid date and place, the defendant T.J. Lemmer was employed as a sworn
Chicago Police Officer and was clothed with authority by the City of Chicago to employ physical force in
the apprehension of persons whom the officer reasonably believed had committed an offense.

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 6 of 9 PagelD #:31

6. On the aforesaid date and place the defendant, T.J. Lemmer was on duty and acting within
the scope of his authority .

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9 T. E. Bubacz , acting in concert with Officer J. Mehmedagic, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.F.
Fitzpatrick , and M.A, Johnson (8781) , and Officer Johnson and other officers began tazing plaintiff
with Tasers and pushing their knees onto plaintiff's back, neck, and head and striking plaintiff with fists.
One of the 5 officers was T. J. Lemmer.

11. Plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer T.J. Lemmer , individually and in concert with others,
plaintiff suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his
civil rights including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against T.J. Lemmer in a sum of $200,000.00 plus costs and attorney’s fees.

COUNT VI

For a cause of action against M.M. Fetzer (9504) sounding in seizure without probable cause and
excessive force against plaintiff, Joseph Turi alleges and says as follows:

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

5. On the aforesaid date and place, the defendant M.M. Fetzer was employed as a sworn
Chicago Police Officer and was clothed with authority by the City of Chicago to employ physical force in
the apprehension of persons whom the officer reasonably believed had committed an offense.

6. On the aforesaid date and place the defendant, M.M. Fetzer was on duty and acting within
the scope of his authority .

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 7 of 9 PagelD #:32

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9 T. E. Bubacz , acting in concert with Officer J. Mehmedagic, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.M. Fetzer,
and M.A, Johnson (8781) , and Officer Johnson and other officers began tazing plaintiff with Tasers and
pushing their knees onto plaintiff's back, neck, and head and striking plaintiff with fists.

One of the 5 officers was M.M. Fetzer.

11. Plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer M.M. Fetzer , individually and in concert with others,
plaintiff suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his
civil rights including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against M.M. Fetzer in a sum of $200,000.00 plus costs and attorney’s fees.

COUNT VII

For a cause of action against M.A. Johnson (8781) sounding in seizure without probable cause
and excessive force, plaintiff Joseph Turi alleges and says as follows:

1-3. Plaintiff realleges and incorporates by reference, paragraphs 1 through 3 inclusive as
paragraphs 1 through 3 of this Count | as fully as if the same were fully set out herein verbatim.

4. On or about June 14, 2013, at or about 11:58 Pm and June 15, 2013, at or about 00:01 am at
6359 S Cottage Grove Avenue, Chicago IL . there was a business known as JB One Food Store.

5. On the aforesaid date and place, the defendant M.A. Johnson was employed as a sworn
Chicago Police Officer and was clothed with authority by the City of Chicago to employ physical force in
the apprehension of persons whom the officer reasonably believed had committed an offense.

6. On the aforesaid date and place the defendant, M.A. Johnson was on duty and acting within
the scope of his authority .

7. On the aforesaid date and place, the plaintiff Joseph Turi was lawfully upon the premises at J
B One Food Store .

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 8 of 9 PagelD #:33

8. On the aforesaid date and place, the plaintiff was conducting himself in accordance with the
statutes of the State of Illinois and the ordinances of the City of Chicago .

9 T. E. Bubacz , acting in concert with Officer J. Mehmedagic, without probable cause and
without lawful justification forcefully grabbed Joseph Turi and forcefully pushed plaintiff against a wall .

10. The aforesaid officers were joined by 5 other Chicago Police Officers including M.A.
Johnson, and Officer Johnson and other officers began tazing plaintiff with Tasers and pushing their
knees onto plaintiff's back, neck, and head and striking plaintiff with fists.

One of the 5 officers was M. A. Johnson.

11. Plaintiff had an established Constitutional right to be free from excessive force and to be
free from seizure except upon probable cause as guaranteed by the Fourth Amendment to the United
States and applicable to the States pursuant to the Fourteenth Amendment to the US Constitution.

12. That as a direct and proximate result of the aforesaid seizure without probable cause and
the employment of excessive force by Officer M.A. Johnson, individually and in concert with others,
plaintiff suffered injuries to his back, neck, and head, including a fractured jaw, and deprivation of his
civil rights including extended unlawful detention.

Wherefore, Joseph Turi prays of the Honorable Court for a judgment in favor of plaintiff and
against M.A. Johnson ina sum of $200,000.00 plus costs and attorney’s fees.

COUNT VIII

For a cause of action against the City of Chicago sounding in battery , the plaintiff alleges and
says as follows:

1. This court has jurisdiction of this claim by virtue of pendent jurisdiction.
2. Venue is proper in this district as the City of Chicago IL located within this judicial district.

3. At all times herein mentioned, the defendant City of Chicago was a municipal corporation
organized and existing by virtue of the laws of the State of Illinois.

4. On or about June 14, 2015, at or about 11:58 pm or June 15, 2015 at 00:01 am the City of
Chicago maintained a department of police.

5. on the aforesaid date, the City of Chicago employed the following persons as sworn police
officers: J. Mehmedagic; T.E. Bubacz; M.F. Fitzpatrick ; G. Evans; T.J. Lemmer; M.M. Fetzer; and M.A.
Johnson.

6. on the aforesaid date and place the City Of Chicago clothed the above listed officers with
authority seize persons committing offenses against the statutes of the State of Illinois and the
ordinances of the City of Chicago .

 
Case: 1:14-cv-10359 Document #: 11 Filed: 06/08/15 Page 9 of 9 PagelD #:34

7. On the aforementioned date, the plaintiff Joseph Turi was lawfully within the food store
known as JB One Food Store located at 6359 S Cottage Grove Avenue Chicago .

8. On the aforesaid and at the aforesaid place, the plaintiff was conducting himself in
accordance with statutes of the State of Illinois and the ordinances of the City of Chicago .

9. The aforementioned officers, acting individually and in concert, at the aforesaid date and
place without probable cause or legal justification, assaulted and battered the plaintiff Joseph Turi by
using fists, knees and tasers.

10. That as a direct and proximate cause of the aforementioned battery, the plaintiff suffered
pain and suffering, required medical attention, plaintiff suffered temporary and permanent injuries to
his back, neck, and head , including his jaw, which sustained a fracture.

Wherefore, Plaintiff Joseph Turi prays of tis Honorable Court for a judgment in favor of the
plaintiff and against the City of Chicago in the sum of $200,000.00 plus costs.

Plaintiff demands trial by jury as to all counts

s/J Chris Goodman

J Chris Goodman
Pomper & Goodman
111 W Washington
Chicago 1] 60602
312 236 2977
1008153
cgood100@yahoo.com

 
